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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS

ROBERT M. BROWN,                    )
                                    )
                     Plaintiff,     )
                                    )
vs.                                 )             Case No. 10-2606-WEB-KGG
                                    )
THE UNIVERSITY OF KANSAS, et al., )
                                    )
                     Defendants.    )
___________________________________ )

                                      ORDER

      Before the Court is Plaintiff’s Motion to Strike Portions of Defendant the

University of Kansas School of Law’s Answer (Doc. 27). Defendant School of

Law’s Answer does not include specific admissions/denials to the factual

allegations enumerated in Plaintiff’s Complaint. (See Doc. 24.) Rather, along with

various affirmative defenses, the Answer merely includes the following “General

Denial”: “The University of Kansas School of Law is not a person or separate

legal entity capable of suing or being sued, and therefore denies each and every

allegation contained in plaintiff’s complaint.” (Id.) The Court finds this to be

insufficient and not within the spirit of Fed.R.Civ.P. 8 and 9.

      The Court further notes, however, that because Defendant School of Law

filed a Motion to Dismiss (Doc. 25), which raises the same legal issue as its
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“General Denial,” it was unnecessary for this Defendant to file an Answer. As

such, Plaintiff’s motion is GRANTED. Defendant is further ordered to file an

Amended Answer with the appropriate admissions and denials should the District

Court’s deny Defendant’s Motion to Dismiss (Doc. 25). Such Amended Answer

shall be filed within 14 days of the District Court’s ruling on its Motion to Dismiss.

      IT IS SO ORDERED.

      Dated at Wichita, Kansas, on this 17th day of November, 2011.


                                               S/ KENNETH G. GALE
                                              Kenneth G. Gale
                                              United States Magistrate Judge




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